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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:17-cv-01937-WYD-NYW

   MICHEAL BACA, POLLY BACA, and ROBERT NEMANICH,
        Plaintiffs,
   v.

   COLORADO DEPARTMENT OF STATE,
       Defendant.


     REPLY IN SUPPORT OF DEFENDANT’S MOTION TO DISMISS UNDER FED. R.
                          CIV. P. 12(b)(1) AND 12(b)(6)


          Defendant, the Colorado Department of State (“Department”), submits this Reply in

   support of its Motion to dismiss the Second Amended Complaint under FED. R. CIV. P. 12(b)(1)

   and 12(b)(6).

                                        REPLY ARGUMENT

          I.       As former subordinate state officials, Plaintiffs lack standing under
                   the political subdivision standing doctrine.

          Plaintiffs contend that the doctrine of political subdivision standing—which provides that

   federal courts lack jurisdiction over certain controversies between political subdivisions and their

   parent states—is no hurdle to this Court’s jurisdiction, because their “own personal constitutional

   rights” were infringed by the Department’s enforcement of Colorado’s binding statute. Doc. 46,

   p. 4. In support, Plaintiffs rely on Coleman v. Miller, 307 U.S. 433 (1939), where the Supreme

   Court determined that 20 of 40 Kansas state senators had standing to sue in an effort to maintain

   the effectiveness of their votes.

          Plaintiffs confuse two discrete strands of standing jurisprudence: the political subdivision

   standing doctrine, which acts as an independent bar to Plaintiffs’ suit, and the requirements for

   legislator standing. Coleman deals only with legislator standing and contains no discussion of the

   political subdivision standing doctrine. Because Presidential Electors do not legislate, Coleman
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   has no bearing on the Department’s Motion to Dismiss. Moreover, even if Coleman were

   relevant, its holding has since been cabined by the Supreme Court in Arizona State Legislature v.

   Arizona Indep. Redistricting Comm’n, 135 S. Ct. 2652 (2015). There, the Court concluded that

   the Arizona State Legislature had standing to challenge a voter initiative because it was “an

   institutional plaintiff asserting an institutional injury” in a suit authorized by votes taken in both

   the Arizona House and Senate. Id. at 2664. But the Court cautioned that the same is not true for

   individual legislators—they lack standing in part because they are not authorized to represent the

   legislature as a whole in litigation. Id. at 2664 (citing Raines v. Byrd, 521 U.S. 811 (1997)). The

   Tenth Circuit, applying Arizona State Legislature, has also held that individual state legislators

   lack standing to challenge state law. See Kerr v. Hickenlooper, 824 F.3d 1207, 1214–17 (10th

   Cir. 2016) (no standing to challenge TABOR). Plaintiffs’ reliance on legislator-standing cases is

   thus misplaced. But this Court need not go down this legislator-standing rabbit hole. As

   discussed below, the political subdivision standing doctrine operates as an independent bar to

   Plaintiffs’ standing.

          Plaintiffs’ response to the political subdivision standing doctrine is two-fold. First,

   Plaintiffs argue they are not “ordinary ‘state officials’” that might otherwise trigger the doctrine

   because they exercise a “federal function.” Doc. 46, p. 5. But merely exercising a “federal

   function” does not remove a state official from the political subdivision standing doctrine. After

   all, a county sheriff exercises a federal function when he or she assists in enforcing any number

   of federal laws; a state insurance commissioner exercises a federal function when he or she

   administers complementary state and federal insurance programs like Medicaid and Medicare;

   and a city government exercises a federal function when it applies for and receives federal

   dollars for local social programs and improvement projects. See FERC v. Mississippi, 456 U.S.

   742, 762 (1982) (recognizing “the Federal Government has some power to enlist a branch of

   state government … to further federal ends.”). Yet each of these subordinate officials and entities

   is barred by the political subdivision standing doctrine from maintaining federal litigation against

   their parent state. See Donelon v. La. Div. of Admin. Law ex rel. Wise, 522 F.3d 564, 566–67 (5th
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   Cir. 2008); City of S. Lake Tahoe v. Calif. Tahoe Reg’l Planning Agency, 625 F.2d 231, 233–34

   (9th Cir. 1980); Cooke v. Hickenlooper, No. 13-cv-01300-MSK-MJW, 2013 WL 6384218, *8–

   12 (D. Colo. Nov. 27, 2013). The same analysis applies here. Although their tenure was brief and

   their function purely ministerial, Plaintiffs’ role as former subordinate state officials subjects

   them to the political subdivision standing doctrine, requiring dismissal for lack of standing. 1

          Second, Plaintiffs rely on a footnote in Bd. of Educ. v. Allen that found standing for

   certain local government board members because they held a “personal stake” in retaining their

   jobs. Doc. 46, p. 5 (citing 392 U.S. 236, 241 n.5 (1968)). But Allen did not discuss the political

   subdivision standing doctrine, perhaps because the appellees in that case did not contest the

   appellant’s standing. See id. Moreover, serving as an elector in the Electoral College is not “a

   job” that confers any meaningful pecuniary interest or autonomous power on Plaintiffs. Under

   Colorado law, electors are reimbursed for their mileage, given a nominal five dollars for their

   attendance at the one-day meeting, and must cast their ballots for the candidates who won

   Colorado’s popular vote. §§ 1-4-304(5) & 305, C.R.S. (2017). That’s it. And as their Complaint

   makes clear, Plaintiffs’ alleged injury is not an individual one based on the possible loss of this

   nominal compensation, but rather an institutional injury grounded in the diminution of power

   that Colorado’s binding statute allegedly causes to the electors’ official role. Doc. 39, ¶¶ 7–9, 41

   (Plaintiffs’ Complaint, identifying Plaintiffs in their capacities as Electoral College members and

   stating they determined to “exercise their constitutional discretion to vote contrary to their pledge

   1
     Even putting aside Plaintiffs’ positions as former state officials, exercising a “federal function”
   does not, by itself, confer federal constitutional rights that may be vindicated in federal court
   under 42 U.S.C. § 1983. More is required. The federal law that a plaintiff seeks to vindicate
   under § 1983 must clearly and unambiguously confer an individual federal entitlement by using
   rights-creating language. Vague “benefits” or “interests” will not do. Gonzaga Univ. v. Doe, 536
   U.S. 273, 282–87 (2002) (holding that nothing short of an “unambiguously conferred right” will
   support a cause of action under § 1983); Blessing v. Freestone, 520 U.S. 329, 340 (1997) (stating
   that a plaintiff seeking redress under § 1983 “must assert a violation of a federal right, not
   merely a violation of federal law.” (emphasis in original)). Nothing in Article II or the Twelfth
   Amendment fits that bill. Cf. Jones v. Bush, 122 F. Supp. 2d 713, 716–18 (N.D. Tex. 2008)
   (holding Twelfth Amendment did not confer standing on voters to enforce requirement that
   President and Vice President be inhabitants of different states).

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   or the popular vote in their state”); cf. Pride v. Does, 997 F.2d 712, 715 (10th Cir. 1993) (stating

   courts should “look to the substance of the pleadings and course of the proceedings” to

   determine if suit is against government official in their individual or official capacity).

           Thus, because Plaintiffs do not assert any individual injury, Allen’s footnote does not

   confer standing on Plaintiffs. See Cooke, 2013 WL 6384218, *11 (concluding county sheriffs

   lacked standing to challenge state gun law because they failed “to bring claims in their individual

   capacities like that asserted in Allen.”).

           One additional facet of the political subdivision standing doctrine merits brief mention.

   Plaintiffs bring their challenge under Article II and the Twelfth Amendment of the Constitution,

   not a federal statute. Following the “trend” of other federal courts, the Tenth Circuit has stated

   that it will permit a lawsuit by a political subdivision against its parent state in the rare

   circumstance that the suit is “based on federal statutes that contemplate the rights of political

   subdivisions.” City of Hugo v. Nichols, 656 F.3d 1251, 1258 (10th Cir. 2011) (emphasis added).

   But the Tenth Circuit warned that there is not a “single case where a court of appeals or the

   Supreme Court has expressly allowed … a claim by a municipality against its parent state

   premised on a substantive provision of the Constitution.” Id. (emphasis added). The Tenth

   Circuit thus refused to depart from the “historic understanding of the Constitution as not

   contemplating political subdivisions as protected entities vis-a-vis their parent states.” Id. at

   1259. This Court should do the same, finding that Plaintiffs lack standing to assert constitutional

   claims against the Department.

           II.     Plaintiffs’ federal preemption argument fails; Colorado’s binding
                   statute is fully consistent with federal law.

           Plaintiffs also resist dismissal by invoking federal preemption principles, asserting that

   Colorado’s binding statute interferes with electors’ performance of a “federal function.” Doc. 46,

   pp. 6-8. In the cases Plaintiffs cite, a federal law or policy conflicted with, or was frustrated by,

   the operation of an incompatible state law. These are classic examples of conflict preemption.

   See Leslie Miller, Inc. v. State of Arkansas, 352 U.S. 187, 190 (1956) (stating Arkansas
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   contractor licensing law conflicted with “federal policy of selecting the lowest responsible

   bidder” for federal contractors); Hawke v. Smith, 253 U.S. 221, 225 (1920) (answering in the

   affirmative the question whether Ohio’s law providing for ratification of constitutional

   amendments by referendum “is in conflict with article 5 of the Constitution of the United

   States”); Wyoming v. Livingston, 443 F.3d 1211, 1213 (10th Cir. 2006) (affirming dismissal of

   state prosecution against federal contractor because “the use of state prosecutorial power [would]

   frustrate the legitimate and reasonable exercise of federal authority”). 2

          But the 29 state statutes that bind electors do not conflict with or frustrate any federal

   objective. To the contrary, state binding statutes advance federal objectives involving the

   Electoral College. See N.Y. State Dep’t of Soc. Servs. v. Dublino, 413 U.S. 405, 421 (1973)

   (rejecting federal preemption where “coordinate state and federal efforts” in a complementary

   framework pursue “common purposes”). Congress itself has passed a law binding the District of
   Columbia’s electors to the result of the popular vote in the District. D.C. CODE ANN. § 1-

   1001.08(g)(2) (2017). The reason is straightforward and succinctly stated by Plaintiffs

   themselves: “sovereignty confers on the people the right to choose freely their representatives to

   the National Government.” Doc. 46, p. 12 (quoting U.S. Term Limits v. Thornton, 514 U.S. 779,

   794 (1995)) (emphasis added). Thus, as far as Congress is concerned, binding electors to the

   outcome of a jurisdiction’s popular vote promotes federal objectives. It does not impede them.

   See Bates v. Dow Agrosciences LLC, 544 U.S. 431, 449 (2005) (stating courts “have a duty to

   accept the reading that disfavors pre-emption” when two plausible alternative readings exist).

          The Constitution likewise embraces the notion that states may bind their electors and, if

   necessary, remove them. Article II provides that electors of each state shall be appointed “in such

   2
     Nat’l Bank v. Commonwealth, 76 U.S. 353 (1870), cited in Plaintiffs’ Response on page 7,
   supports the Department, not Plaintiffs. There, the Court affirmed the constitutionality of a
   Kentucky tax on shares of a national bank, stating that the tax “in no manner hinders [the bank]
   from performing all the duties of financial agent of the government.” Id. at 363. Similarly here,
   Colorado’s binding statute does not hinder the duty of presidential electors to act as
   “messengers” who “transmit the election returns” to Congress. Spreckels v. Graham, 228 P.
   1040, 1045 (Cal. 1924). That is their “sole duty.” Id.

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   manner as the legislature thereof may direct[.]” U.S. CONST. art. II, § 1. The State’s “power and

   jurisdiction” over its electors is “plenary,” McPherson v. Blacker, 146 U.S. 1, 35 (1892),

   “comprehensive,” id. at 27, and “exclusive,” id. at 35. And, contrary to Plaintiffs’ argument, the

   power to appoint necessarily encompasses both the power to remove and to attach conditions.

   See Burnap v. United States, 252 U.S. 512, 515 (1920) (“The power to remove is, in the absence

   of statutory provision to the contrary, an incident of the power to appoint.”); Myers v. United

   States, 272 U.S. 52, 175–76 (1926) (invalidating Tenure of Office Act that attempted to prevent

   President from removing executive officers); cf. South Dakota v. Dole, 483 U.S. 203, 206 (1987)

   (stating Congress’s power to spend money includes the power to “attach conditions”). The state

   office of presidential elector, unlike a federal judge and other federal official, enjoys no

   constitutional protection against removal or the attachment of conditions by the appointing

   authority. Compare U.S. CONST. art. II, § 4 (stating “civil officers of the United States” may be
   impeached only for “high crimes and misdemeanors”), and U.S. CONST. art. III, § 1 (federal

   judges shall hold their offices during “good behavior”), with Ray v. Blair, 343 U.S. 214, 224

   (1952) (stating electors “are not federal officers or agents” and that they “act by authority of the

   state” that appoints them).

          The Twelfth Amendment, on which Plaintiffs rely, also supports the State’s authority to

   bind electors. It was enacted for the very purpose of facilitating Electoral College meetings in

   which electors would be bound to “carry out the desires of the people,” without confronting the

   obstacles of the Electoral College of 1800 that ended in a tie. Ray, 343 U.S. at 224 n.11. Put

   another way, permitting the binding of electors was “the very thing … intended by th[e]

   [Twelfth] amendment.” Id. at 229 n.15 (quoting 11 Annals of Congress 1289—1290, 7th Cong.,

   1st Sess. (1802)).

          Accordingly, because Colorado’s binding statute does not conflict with federal

   objectives, but rather advances them, Plaintiffs’ preemption argument should be rejected.




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           III.    Plaintiffs’ originalist view of Article II ignores both this country’s
                   democratic history and the Twelfth Amendment.

           Last, Plaintiffs argue that Article II’s text, as shown by the Framer’s original

   understanding of the Constitution, imbues electors with discretion to cast their Electoral College

   ballots for their preferred candidates, even if contrary to the wishes of their State’s voters. As

   historical support, Plaintiffs rely on Alexander Hamilton’s 1788 Federalist paper (No. 68),

   Samuel Johnson’s 1768 dictionary definition of elector, and Senator Charles Pinckney’s 1800

   speech on the Senate floor, among other sources. Doc. 46, pp. 10–11. When coupled with Article

   II, Plaintiffs contend, these sources establish that electors are “vested with judgment and

   discretion.” Id. at 10.

           Plaintiffs’ historical analysis misses the mark for at least two reasons. First, even if the

   Plaintiffs accurately describe the Framers’ original understanding—a point the Department

   disputes, see Doc. 42, pp. 12–14—their contemplated oligarch system never came to pass.

   Instead, history proves that electors “were so chosen simply to register the will of the appointing

   power in respect of a particular candidate.” McPherson, 146 U.S. at 36. This view “has prevailed

   too long and been too uniform” to justify a contrary approach. Id.; see also Bush v. Gore, 531

   U.S. 98, 104 (2000) (“History has now favored the voter”); Doc. 42, pp. 12–14 (summarizing

   history of electors being bound and pledged to certain candidates). Moreover, any ostensible

   tension between the Framers’ original understanding and this country’s longstanding historical

   practice cannot diminish the State’s plenary power over its electors. As the Supreme Court has

   explained, there is “no reason for holding that the power confided to the states by the constitution

   has ceased to exist because the operation of the [Electoral College] system has not fully realized
   the hopes of those by whom it was created.” McPherson, 146 U.S. at 36. As such, the State’s

   plenary, comprehensive, and exclusive power over its electors—bolstered by this country’s

   democratic history and longstanding practice—defeats any conflicting intent held by the

   Framers.



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           Second, whatever the Framers’ original understanding might have been, the Twelfth

   Amendment’s plain language “materially chang[ed] the mode of election of president”

   established by Article II. 3 Joseph Story, Commentaries on the Constitution of the United

   States § 1460 (1833). Because the Twelfth Amendment was ratified in 1804—years after the

   Framers approved Article II—it supplants the earlier text and historical sources relied upon by

   Plaintiffs. See Akhil Reed Amar, Some Thoughts on the Electoral College: Past, Present, and

   Future, 33 OHIO N. U. L. REV. 467, 469 (2007) (“It is the Twelfth Amendment's electoral college

   system, not the Philadelphia Framers’, that remains in place today.”); see also Lawrence Lessig,

   Understanding Changed Readings: Fidelity and Theory, 47 STAN. L. REV. 395, 407 (1995)
   (explaining that “the Twelfth Amendment directly changed the method for electing a president

   described in Article II” because it “change[d] constitutional text directly”). 3 And, as already

   indicated, the Twelfth Amendment’s entire purpose was to facilitate Electoral College meetings

   where electors are pledged and bound to their party’s preferred candidates. See Ray, 343 U.S. at

   224 n.11 & 229 n.15.

           Accordingly, Plaintiffs’ reliance on the Framers’ alleged original understanding of

   Article II should be rejected.

                                            CONCLUSION

           For the foregoing reasons, Plaintiffs’ Second Amended Complaint should be dismissed in

   its entirety with prejudice.




   3
    Plaintiffs’ reliance on the Tenth Circuit’s cursory reference to the Twelfth Amendment in
   Baca I should also be rejected. Doc. 46, pp. 2–3 (citing Baca v. Hickenlooper, 10th Cir. No. 16-
   1482, Slip Op. at 12 n.4 (Dec. 16, 2016)). The Tenth Circuit’s footnote is mere dicta and
   contains no analysis of the Twelfth Amendment’s text or the historical reasons for its ratification.
   See United States v. Villarreal-Ortiz, 553 F.3d 1326, 1328 n.3 (10th Cir. 2009) (stating dicta is
   not binding). That is unsurprising since the Tenth Circuit’s order, and the highly expedited
   briefing leading up to it, were produced in a matter of hours to avoid delaying the
   constitutionally-scheduled meeting of the 2016 Electoral College.

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          Respectfully submitted this 19th day of January, 2018.


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                                  CERTIFICATE OF SERVICE

          I hereby certify that on January 19, 2018, I served a true and complete copy of the
   foregoing REPLY IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS UNDER
   FED. R. CIV. P. 12(b)(1) AND 12(b)(6) upon all parties through ECF:

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